      Case 5:17-cr-00032-RH-MJF       Document 144     Filed 06/25/18   Page 1 of 2
                                                                                 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION




UNITED STATES OF AMERICA

v.                                              CASE NO. 5:17cr32-RH

AMANDA GIOVANNI,

          Defendant.
__________________________________/


                         ORDER DENYING THE MOTION TO
                       SUPPRESS ALICIA-COURT MATERIALS


         The defendant Amanda Giovanni has moved to suppress materials seized

from her home on Alicia Court during execution of a search warrant. She says

there were material omissions from the affidavit that led to the issuance of the

warrant and that the warrant did not describe with sufficient particularity the things

to be seized. This order confirms the ruling announced on the record of the

suppression hearing on May 16, 2018.

         The standard governing the challenge to the affidavit is set out in Franks v.

Delaware, 438 U.S. 154 (1978). To meet that standard, Ms. Giovanni was required

to show that the affidavit omitted information that would have affected the

conclusion that there was probable cause for the search. This she failed to do. A

Case No. 5:17cr32-RH
      Case 5:17-cr-00032-RH-MJF       Document 144     Filed 06/25/18    Page 2 of 2
                                                                                  Page 2 of 2




judicial officer would have found probable cause based on the truthful statements

in the affidavit even if the affidavit had also included the additional information

Ms. Giovanni says should have been included.

         The warrant described the things to be seized with sufficient particularity.

The Eleventh Circuit has made clear that a description is not defective just because

it relies in part on a reference to the underlying offense. See, e.g., United States v.

Majors, 196 F.3d 1206, 1216 (11th Cir. 1999) (business records and “any other

evidence . . . of a violation of [18 U.S.C. §§] 1341 and 1343”); United States v.

Santerelli, 778 F.2d 609, 615 (11th Cir. 1983) (“evidence of loan sharking”). And

in any event, the description was not so plainly deficient that officers could not rely

on the warrant in good faith. See United States v. Leon, 468 U.S. 897 (1984).

         For these reasons and those set out on the record of the hearing,

         IT IS ORDERED:

         The motion to suppress the material seized at Alicia Court, ECF No. 76, is

denied.

         SO ORDERED on June 25, 2018.

                                          s/Robert L. Hinkle
                                          United States District Judge




Case No. 5:17cr32-RH
